Case 1:17-cr-00434-ARR Document 293 Filed 12/02/21 Page 1 of 2 PageID #: 4011




                                                           December 2, 2021

  Via ECF and EMAIL
  Hon. Allyne R. Ross
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                                                    Re:    U.S. v. Melendez-Rojas
                                                           17 Cr. 434 (ARR)

  Dear Judge Ross:

          I write in response to the government’s letter of last evening regarding jail
  credit for extradited defendants, which includes my client Jose Miguel Melendez
  Rojas.

         In its letter the government explains that this Court has no authority to give
  an extradited defendant credit for the time he served in custody overseas.
  Rather, government counsel recites the legislative history regarding the
  development of this policy, adding:

                …the government has conferred with Bureau of Prisons officials
                and has been advised that, under certain circumstances, the
                Bureau of Prisons awards credit for defendants who were detained
                in foreign custody prior to entering into the custody of the Attorney
                General. [Emphasis Added]

           This standard, “under certain circumstances” is offered by the
  government; however, no reference is made as to what circumstances the BOP
  will utilize to make its determination regarding whether to credit these defendants
  for the time they spent in custody awaiting extradition to the Eastern District of
  New York. For Jose Miguel Melendez Rojas, who was arrested in Mexico on
  these charges on February 11, 2019, produced in the EDNY on August 14, 2019,
  and has remained at the MDC since that time, there is a six-month period of time
  which may be credited to him by the BOP, under “certain circumstances.”

        It is respectfully submitted that without more, the Court should not feel
  constrained by such an amorphous representation. And, given the horrific
Case 1:17-cr-00434-ARR Document 293 Filed 12/02/21 Page 2 of 2 PageID #: 4012




  conditions at the MDC generally, and more specifically during the Covid
  pandemic, that a considerable downward variance is appropriate – particularly in
  light of the severity of the Guidelines framework specific to this case.

        Your Honor’s consideration of this request is appreciated.

                                                       Respectfully submitted,




                                                       Susan G. Kellman

  cc:   All counsel

        Jose Miguel Melendez Rojas
